    Case 1:15-cv-00842-RGA Document 43 Filed 06/24/16 Page 1 of 3 PageID #: 777




222 Delaware Avenue ● Suite 900                                                          Writer’s Direct Access:
P.O. Box 25130 ● Wilmington, DE 19899                                                            (302) 429-4232
Zip Code For Deliveries 19801                                                       sbrauerman@bayardlaw.com


                                                June 24, 2016

VIA CM/ECF & HAND DELIVERY
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, Delaware 19801

         Re:      ChanBond, LLC v. Atlantic Broadband Group, LLC, et al.,
                  C.A. Nos. 15-842-RGA-MPT through 15-854-RGA-MPT

Dear Judge Andrews:

       I write on behalf of Plaintiff ChanBond LLC (“ChanBond”) regarding two issues we
would like to discuss at the June 28, 2016 discovery conference.

       The first issue concerns defendants’ core technical productions under the Court’s
Default Standard for Discovery. There are thirteen defendants in this action, each represented
by the same counsel, and each has failed to produce core technical documents as required
under the Court’s Default Standard for Discovery.

        On January 19, 2016, as part of its infringement contentions, ChanBond identified the
infringing DOCSIS 3.0 cable modems and services offered by defendants based on their own
public documentation.1 ChanBond also generally identified defendants’ infringing cable
modem termination systems (CMTS) and other cable modems (the exact identity of which are
not publicly available).

       On March 25, 2016 each of the thirteen defendants certified to the Court that they
served their “Core Technical Documents” pursuant to Paragraph 4(b) of the Local Rules and
the Court’s Scheduling Order. See, e.g., D.I. 30 (15cv842), 28 (15cv843).

        On April 11, 2016 ChanBond requested a meet and confer because none of the
defendants (save for WideOpenWest (“WOW”)) produced documents sufficient to even
identify the DOCSIS 3.0 cable modems or CMTS’s currently and historically employed by
defendants. Defendants’ productions also omitted technical information for the cable modems
and high-speed data service offerings that ChanBond had expressly identified in its initial
infringement contentions. Not a single defendant produced internal documents directed to its
1
 ChanBond could not identify all potentially infringing DOCSIS 3.0 cable modems because many are proprietary and
known only to the defendants.
    Case 1:15-cv-00842-RGA Document 43 Filed 06/24/16 Page 2 of 3 PageID #: 778

                                                              The Honorable Richard G. Andrews
                                                                                     June 24, 2016
                                                                                            Page 2
DOCSIS 3.0 high-speed data services, or the manner in which defendants sell, lease or offer
for sale the accused DOCSIS 3.0 products used to provide those services. (See Ex. A, April 11,
2016 Correspondence.)

        As examples of responsive core technical documents, ChanBond provided documents
WOW produced, which identified the cable modems, the CMTS’s and CMTS configurations
(line cards, etc. – but not software) that WOW provided to its customers.

        Nine days later, on April 20, 2016, defendants’ counsel responded. Instead of agreeing
to a date for a meet and confer, defendants asked Chanbond for “a more specific letter,” stating
that only then would defendants “schedule a meet and confer.” (Ex. B, April 20, 2016
Correspondence.) On April 21, 2016, ChanBond again requested a meet and confer, reminding
defendants that it already identified the deficiencies in defendants’ core technical document
productions in the April 11, 2016 correspondence.

         Since then, ChanBond has written numerous emails and had multiple meet and confer
teleconferences with counsel for defendants, to no avail. Each defendant has failed to properly
supplement its production. Defendants have even failed to produce core technical documents
from their own company websites, despite acknowledging that such documents (e.g. user
manuals, installation manuals, and specifications) were required to be produced under the
Court’s Default Standard for Discovery. (See Ex. C, May 25, 2016 Correspondence.)
ChanBond has still not received from defendants documents sufficient to disclose the identity,
configuration and utilization of DOCSIS 3.0-compatible cable modems and CMTS’s employed
by defendants in their networks and ChanBond requests an order compelling their production.
Defendants’ refusal to produce these documents has wasted months, hampering ChanBond’s
ability to pursue its case.2

       The second issue concerns defendants’ responses to ChanBond’s document requests.
Defendants believe they do not have to produce documents responsive to the document
requests ChanBond served in January until the deadline for “substantial completion” for
document discovery in December.

       On January 14, 2016, ChanBond served a first set of requests for production on each
defendant. On February 19, 2016, each defendant responded only with objections. For many
of the requests, defendants (i) requested a meet and confer, (ii) stated that the production
would be part of the Core Technical Production, or (iii) stated that documents would be
produced “on a rolling basis to be completed before the document production deadline set in
the Scheduling Order.” Despite five months having passed since their deadline to respond,
defendants have failed to begin their “rolling production.”

        On March 21, 2016, the parties’ conferred and counsel for the defendants indicated that
a “rolling production” of responsive documents would begin shortly.

        On May 16, 2016, ChanBond requested a meet and confer because every defendant
failed to provide any “rolling production” and each defendant had failed to produce documents
2
  During an April 26 meet and confer, defendants indicated they would begin to identify their cable modems and
identify and provide documents for the configuration of their CMTS’s. While certain defendants have since identified
their cable modems and CMTS’s, nearly nine weeks later many defendants have not. However, even the information
provided has been insufficient (e.g., defendants have not identified the underlying hardware and software configurations
of the CMTS’s).
  Case 1:15-cv-00842-RGA Document 43 Filed 06/24/16 Page 3 of 3 PageID #: 779

                                                              The Honorable Richard G. Andrews
                                                                                   June 24, 2016
                                                                                           Page 3
concerning numerous requests for production including numbers 5, 7-22, 24-28, 31, 35, 37, 38,
41-43, 45-47, 49, 50, 52, and 54-66. (See Ex. D, May 16 Correspondence.)

        On May 25, 2016, defendants’ counsel represented that a rolling production from some
of the defendants would begin “soon.” However, defense counsel could not and would not give
a date certain when such production would begin for even a single defendant. On June 10,
2016, defense counsel further argued that the Scheduling Order’s date for “substantial
completion” of discovery alters the requirements of the Federal Rules of Civil Procedure
(particularly Rule 34(b)(2)(B)) and that defendants are not obligated to produce documents
before December 2016. (See Ex. E, June 10, 2016 Correspondence.)

        To aid defendants’ efforts, during one the many meet and confers, ChanBond offered to
limit the products at issue if defendants would first produce information on the extent of their
use of the Accused Products. Defendants refused. ChanBond has repeatedly given counsel for
defendants’ descriptions of the types of documents it needs and wants in order to help
defendants prioritize their production, to no avail.

        Five months after the service of document requests none of the thirteen defendants has
begun producing documents on a rolling basis in earnest. Such a deficiency among thirteen
different parties represents a coordinated strategy that has hampered and will continue to
impair ChanBond’s ability to conduct expert discovery and prepare this case for trial. Given
the number of products and defendants at issue, ChanBond requests an order compelling each
of the thirteen defendants to produce documents within 30 days following a reasonable
investigation for responsive documents.



                                     Respectfully submitted,


                                     /s/ Stephen B. Brauerman

                                     Stephen B. Brauerman (No. 4952)
cc:    All counsel
